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bocarrasco47@outlook.com

From:                 Bryce Carrasco
Sent:                 Monday, August 30, 2021 3:27 AM
To:                   Bailey, Elizabeth


You have shown yourself to be a quintessential example of everything that is wrong with society. You are arrogant,
pedantic and pretentious beyond anything I have ever witnessed and it is a reflection of your lack of natural talent and
intellect. You are simply a bureaucrat ‐ you have the expensive Ivy League education, but at the end of the day, you are
nothing but a parrot helping a criminal organization abuse hard working Americans, and in doing so you are just as
culpable and you will be held accountable. Make no mistake about that. You think you can get away with anything, but
the honest truth is you are not very intelligent. In addition to your inability to think for yourself, you possess absolutely
no social skills. When you look at your career, are you actually proud?

You actively made the choice to enable the criminals you work for. You never stopped and thought about who was on
the other side, you thought that no matter what, everything would always work out because that is just how things have
been your entire life, and you now know that you are nothing but a fake‐ a fraud with no talent, no perspective, and no
morals. You now will learn the hard way that you aren’t special, you are a criminal, plain and simple. For the first time in
your life, you will experience adversity and you won’t be able to hide behind Kathleen Evans anymore.

Let’s see if you put your own signature on an affidavit next time, because you aren’t fooling me for a second.

Pathetic.

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